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Yvette Puentes

From:                                   wi reroom @ myproba n k.com
Sent:                                   Friday, November 27,2020 7:20 AM
To:                                     Yvette Puentes
Subject:                                lnbound Wire Notification


User: wireroom @myprobank.com

WIRE CONFIRMATION - LL/27/2020 06:20:05
YOUR ACCOUNT HAS BEEN CREDITED AS FOLLOWS:

I   MAD # {1520}: 2O2OLL27 BtQ802 1C030506

OMAD     # {tL20} : 2O2O   tI27 MM Q F M PO M OOO0 13 11.27 OOzt

Beneficiary:RIVERO MESTRE LLP - OPERATING

Wire Amount:

Wire Fee:$0.00

Account Number:x**0282

Amount Credited

Reference Number:7513355

Sender ABA {3100}: 021000089
Sender Name: CITIBANK NA

Refe re n ce I MA D {3 5001: 202O1727   B1   Q802 1 C03 0506

Basic lnformation Section

Receiver ABA {3400}: 0670L6574
Receiver Name: PROFESSIONAL BK          FL


Payment Notification {3620}:
      Payment Notification: 4
      Co nta ct N a m e : D9C3 C87 6-0 028- 424E- A429-A       E   6 B 85   C25D7   O



Originator Option   F   {50L0}:
          Party ldentifier: / LOOL46 100100USD
          Originator's Name: UROUND ROCK TECHNOLOGY lNC,
          Address Line 1: 2IFfiZGERALD HOUSE,44 CHURCH ST.
          Address Line 2: 3/AG/SAINT JOHN

lnstitution lnformation Section
Beneficiary {4200}:

                                                                                        RM 00025
                                                                            1
